     Case 3:20-cv-00029-D Document 1-3 Filed 01/06/20            Page 1 of 40 PageID 11



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

SHMARA PUNCH                                    §
  PLAINTIFF,                                    §
                                                §   CIVIL ACTION NO.
v.                                              §
                                                §   ___________________
CITY OF DESOTO and DESOTO                       §
CHAMBER OF COMMERCE                             §
   DEFENDANTS.                                  §
                                                §
       INDEX OF ATTACHED STATE COURT PLEADINGS AND FILING DATES

        A.      State Court Docket Sheet                                  11/14/2019

        B.      Plaintiff’s Original Petition                             11/14/2019

        C.      Citation Issued to Defendant City of DeSoto               11/14/2019

        D.      Citation Issued to Defendant DeSoto Chamber of            11/14/2019
                Commerce

        E.      Plaintiff’s Request for Service                           11/27/2019

        F.      Service of Process on Defendant City of DeSoto            12/10/2019

        G.      Service of Process on Defendant DeSoto Chamber of         12/10/2019
                Commerce

        H.      Defendant City of DeSoto’s Original Answer                12/27/2019

        I.      Defendant DeSoto Chamber of Commerce’s Original           12/27/2019
                Answer

        J.      Defendant DeSoto Chamber of Commerce’s First              01/03/2020
                Amended Answer




INDEX OF ATTACHED STATE COURT PLEADINGS AND FILING DATES                       PAGE 1 OF 1
D/1015729v1
Details                                                                        Page 1 of 4
      Case 3:20-cv-00029-D Document 1-3 Filed 01/06/20      Page 2 of 40 PageID 12




          Case Information




          DC-19-18317             162nd District Court     MOORE, MARICELA

          11/14/2019              EMPLOYMENT               OPEN




          Party


                                                                         
          PUNCH, SHMARA                                    Lead Attorney
          Address                                          CANE, CHRISTINE M
          5787 S. HAMPTON RD                               Retained
          SUITE 203
          DALLAS TX 75232




                                                                          
          CITY OF DESOTO                                   Lead Attorney
          Address                                          BRIGHT, GERALD
          SERVE M RENEE JOHNSON                            Retained
          211 E. PLEASANT RUN
          DESOTO TX 75115




                                                                          
          DESOTO CHAMBER OF COMMERCE                       Lead Attorney
          Address                                          REES, RAYMOND
                                                           DOUGLAS
                                                           Retained




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0          1/6/2020
Details                                                                       Page 2 of 4
      Case 3:20-cv-00029-D Document 1-3 Filed 01/06/20      Page 3 of 40 PageID 13

          SERVE CAROL CULLETT DESOTO CHAMBER CHAIR
          304 N. HAMPTON RD
          DESOTO TX 75115




          Events and Hearings




                                     




                                 




                             



            CONSTABLE 4




            CONSTABLE 4


            12/10/2019

            CITY OF DESOTO


                             



            CONSTABLE 4




            CONSTABLE 4




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0         1/6/2020
Details                                                                        Page 3 of 4
      Case 3:20-cv-00029-D Document 1-3 Filed 01/06/20       Page 4 of 40 PageID 14


          12/10/2019

          DESOTO CHAMBER OF COMMERCE


                                         




                                     




            EXECUTED CITATION - CITY OF DESOTO


                                     




            EXECUTED CITATION - DESOTO CHAMBER OF COMMERCE


                                                  




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            DEFENDANT DESOTO CHAMBER OF COMMERCE'S 1ST




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0          1/6/2020
Details                                                                               Page 4 of 4
      Case 3:20-cv-00029-D Document 1-3 Filed 01/06/20        Page 5 of 40 PageID 15

          Financial


             Total Financial Assessment                                     $482.00
             Total Payments and Credits                                     $482.00


          11/18/2019   Transaction                                         $308.00
                       Assessment

          11/18/2019   CREDIT CARD -      Receipt # 78742-   PUNCH,       ($308.00)
                       TEXFILE (DC)       2019-DCLK          SHMARA

          12/3/2019    Transaction                                         $174.00
                       Assessment

          12/3/2019    CREDIT CARD -      Receipt # 81974-   PUNCH,       ($174.00)
                       TEXFILE (DC)       2019-DCLK          SHMARA




          Documents




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                 1/6/2020
                                                                                                                                             FILED
2 CIT   ESERVE                                                                                                                     DALLAS COUNTY
                                                                                                                               11/14/2019 11:07   PM
               Case 3:20-cv-00029-D Document 1-3 Filed 01/06/20                                  Page 6 of 40 PageID 16              FELICIA PITRE
                                                                                                                                   DISTRICT CLERK


                                                                00-19-18317
                                                                Dc-19-18317                                                 Stephanie Clark
                                             CAUSE NO.

          SHMARA PUNCH                                                  §             IN   THE DISTRICT COURT
                                                                        §
                     Plaintiff,                                         §
                                                                        §                   162
          V.                                                            §                           JUDICIAL DISTRICT
                                                                        §
          CITY   OF DESOTO,                                             §
                                                                        §
          DESOTO CHAMBER OF COMMERCE,                                   §
                                                                        §             DALLAS COUNTY, TEXAS
                     DEFENDANTS.                                        §




                                         PLAINTIFF’S ORIGINAL PETITION           AND JURY DEMAND

          TO THE HONORABLE JUDGE OF THIS COURT:

                     Shmara Punch,         Plaintiff,   by and through undersigned counsel, Christine Cane, complains


          of   The   City of    Desoto and the Desoto Chamber of Commerce and for causes of action would


          show the Court and the            Jury as follows:


                     1.   Pursuant to Tex.        R. Civ. Proc.   Rule 190.3, discovery    is   intended to be conducted under


          Discovery Control Level           ||.   Plaintiff   reserves the right to request a discovery control plan from


          the Court pursuant to Rule 190.5.


                                                                  |.   NATURE OF THE CASE

                     2.   At   all   times relevant to this lawsuit, defendants were Ms. Punch’s employer and


          Plaintiff   was the employee            of Defendants.


                     3.   Ms. Punch expressed that specific board members for the Desoto Chamber of


          Commerce were               misappropriating government funds. Additionally, Ms. Punch provided


          credible evidence to the City of Desoto showing the misappropriation of these funds. Shortly




          PLAINTIFF's ORIGINAL PETITON                  AND JURY DEMAND                                                 1   0F 7
   Case 3:20-cv-00029-D Document 1-3 Filed 01/06/20                                            Page 7 of 40 PageID 17



thereafter, the City of Desoto and Desoto                  Chamber    of    Commerce,           violated the Texas


whistleblower act by           firing   Ms. Punch   in retaliation.



          4.   The   City of   Desoto and Desoto Chamber of Commerce further purported to the Texas


Workforce Commission that the reason for Ms. Punch’s termination was because of alleged


theft. This libel to the         workforce commission violates Texas statute that prohibits defamation


of character.      The   libel   proved unfounded by the Texas Workforce Commission,                              who   in   turn,


granted Ms. Punch her unemployment wages that were disputed.


          5.   Ms. Punch seeks reinstatement, other injunctive                         relief, lost   wages, compensatory


damages, and attorney’s fees to compensate her for the wrongful termination actions of the


City of   Desoto and Desoto Chamber of Commerce.


          6.   Additionally, Ms.        Punch asserts that she was discriminated against                    in   violation of the


Title VII anti-retaliation provisions         which prohibits an employer from                     retaliating against an



employee because she has participated and or                   assisted      in    an investigation.


                                                     ||.   PARTIES   AND      SERVICE


          7.   Plaintiff,   SHMARA PUNCH        (”Ms. Punch”)         is   a citizen        and resident of Dallas County,


Texas.


          8.   Defendant, CITY OF         DESOTO     (”City of Desoto”)           is   a   government agency which may be

served by serving M. Renee Johnson,                 city   manager    at   211     E.      Pleasant Run Rd., Desoto Texas,


75115; or by serving the Texas Secretary of State.


          9.   Defendant,      DESOTO CHAMBER OF COMMERCE (”Desoto Chamber”)                                 is   a   government


agency which may be served by serving Carol                   Cullett,     Desoto Chamber Chair             at   304 N Hampton


Rd.,   Desoto Texas, 75115 or by serving the State of Texas Secretary of State.




PLAINTIFF’S ORIGINAL PETITON                AND JURY DEMAND                                                                    2   OF 7
     Case 3:20-cv-00029-D Document 1-3 Filed 01/06/20                                      Page 8 of 40 PageID 18



                                                  |||.   JURISDICTION      AND VENUE

10.       This Court has jurisdiction of the Plaintiff’s claims pursuant to Article 5 §8 of the Texas


Constitution and Texas           Government Code §§24.007 & 24.008.

11.       The    District courts of Dallas               County, Texas have jurisdiction over this cause of action


because    Plaintiff’s    damages      are    in    excess ofthe jurisdictional        minimum amount           in   controversy


for such courts.


12.       Venue    is   proper   in   Dallas County, Texas pursuant to Texas Civil Practice                  and Remedies


Code §15.001 because that              is   where         all   or part of the cause of action accrued.


                                            IV.    JURISDICTIONAL PREREQUISITES


13.       Plaintiff     has exhausted       all    applicable administrative grievance procedures relevant to


this   cause of action and has timely               filed this suit in     accordance with applicable statutes.


                                                   V.      FACTUAL BACKGROUND

14.       Ms. Punch was employed at                      all   times relevant to this matter, with the City of Desoto and


Desoto Chamber of Commerce.                       Specifically,      Ms. Punch’s job was   in   sales   and entailed securing


businesses to join the chamber.


15.       On    or about 11/27/2018 to 1/1/2019 Ms. Punch                        was   instructed by the Desoto         Chamber

of   Commerce’s       Chair, Carol Cullet, to investigate                former CEO Laura Terhune for possible


misappropriation of city funds.


16.       On    or about October 21, 2018, Ms. Punch                      met with Desoto Chamber          of   Commerce

board members to inform them of some of the findings of her investigation. Ms. Punch


revealed specific misappropriations by Laura Terhune, Doug Hunt, David Hunt, and Kenneth


Golden    all   of which   were board members                     at the time.




PLAINTIFF’S ORIGINAL PETITON                  AND JURY DEMAND                                                              3   OF 7
   Case 3:20-cv-00029-D Document 1-3 Filed 01/06/20                                Page 9 of 40 PageID 19



17.       Shortly after Ms. Punch reported            some   of her findings of misappropriation, Ms. Punch


experienced      hostility at    the workplace which ultimately lead to termination of her employment.


18.       On   or about August 15, 2019, Ms. Punch filed a charge of Discrimination and retaliation


with the Texas Workforce Commission. The Commission completed                           its   investigation and gave


Ms. Punch the right to sue.


19.       Additionally, Desoto        Chamber    of   Commerce and        the City of Desoto responded to the


complaint with Texas Workforce Commission that the reason for terminating Ms. Punch was


because she stole funds from the Desoto Chamber, which accusation                        is   untrue.


                                               IV.   CAUSES OF ACTION

                    COUNT       l-VIOLATION OF THE       WHISTLEBLOWER ACT/RETALIATION

20.       The preceding paragraphs are incorporated by reference                  in   the following claims for


relief.



21.       Ms. Punch would show that the aforementioned conduct constitutes a violation of the


Texas Whistleblower Act, which prohibits a governmental entity from retaliating against an


employee who        is   good   faith reports a violation of       law to an appropriate authority.


22.       Ms. Punch clearly established rights under the Texas Whisteblower Act were violated by


the City of Desoto and Desoto           Chamber when         it   wrongfully terminated Ms. Punch’s


employment        in retaliation   for her   good    faith reports of violations of law.



23.       As   a direct   and proximate      result of Defendant’s wrongful conduct,            Ms. Punch has and


will   continue to suffer loss of pay, benefits, and other monetary damages, loss of earning


capacity,   damage        to her reputation, mental anguish, loss of         enjoyment of       life,   and attorney’s


fees, costs    and expenses.




PLAINTIFF's ORIGINAL PETITON             AND JURY DEMAND                                                           4 0F 7
     Case 3:20-cv-00029-D Document 1-3 Filed 01/06/20                                 Page 10 of 40 PageID 20



                                     COUNT       ||-   DEFAMATION OF CHARACTER

24.      The preceding paragraphs are incorporated herein by reference                         in   the following claim


for relief.


25.      Defandant’s      made statements              to Board   members and      City   employees as the          basis for


Ms. Punch’s termination was that she had committed acts of theft of Desoto Chamber funds.


Additionally, this libel     is   also recorded        in   the Defendant’s response to the Texas Workforce


Commission.


26.      Ms. Punch maintains that she has never                   illegally   taken any funds from Desoto Chamber


of   Commerce nor       the City of Desoto. Such accusations has cause Ms. Punch irreparable


damage    to her character         among those         in   her community. Additionally, said         libel   has   damaged

her reputation, earning capacity, and caused Ms. Punch extreme emotional distress.


                                  COUNT   |||-   VIOLATION OF FIRST AMENDMENT

27.      The preceding paragraphs are incorporated by reference                       in   the following claim for        relief.



28.      Ms. Punch’s concerns expressed to members of the City of Desoto and Desoto Chamber


of   Commerce     relating to     misuse or misappropriation of Desoto Chamber funds was a serious


matter of legitimate public concern.


29.      Defendants City of Desoto and Desoto Chamber of Commerce terminated Ms. Punch’s


employment       in   retaliation for   Ms. Punch’s protected speech on matters of legitimate public


concern   in   violation of Ms. Punch’s rights of              freedom of speech guaranteed by the             First   and


Fourteenth     Amendments          to the United States Constitution.


30.      The actions of Defendants, the                City of   Desoto and Desoto Chamber, deprived Ms. Punch


of her First   Amendment          Rights provided to her by the provisions of the              due process clause of




PLAINTIFF's ORIGINAL PETITON             AND JURY DEMAND                                                                 5   0F 7
  Case 3:20-cv-00029-D Document 1-3 Filed 01/06/20                                    Page 11 of 40 PageID 21



the Fourteenth       Amendment to the        United States Constitution,            made   actionable by 42 U.S.C


§1983.


31.      Defendants, the City of Desoto and Desoto Chamber, acted without authorization of


law, willfully, knowingly,      and purposely, with the         specific intent of depriving        Ms. Punch of her


First   Amendment        rights of free speech.


                                                      V.DAMAGES

32.      As   a direct   and proximate     result of Defendants’ actions,            Ms. Punch suffered and


continues to suffer loss of comparable employment, loss of past and future income, loss of past


and future employment          benfits, loss of future earning capacity,             and suffered and continues to


suffer emotional distress, humiliation,             embarrassment,           loss of opportunities for career



advancement, and damage to reputation.


                                            VI.     EXEMPLARY DAMAGES

33.      Ms. Punch would further show that the acts and omissions of Defendants complained of


herein   were committed with malice or              reckless indifference to the protected rights of Ms.


Punch.   In   order to punish Defendants for engaging                 in   unlawful retaliation and to deter such


actions and/or omissions         in   the future, Ms. Punch also seeks recovery from Defendants for


exemplary damages.


                                                    WLJURYDEMAND

34.      Plaintiff   hereby requests      a trial   byjury of   all   issues of fact in this case   and herewith


tenders the jury fee.




PLAINTIFF’S ORIGINAL PETITON             AND JURY DEMAND                                                        6   OF 7
  Case 3:20-cv-00029-D Document 1-3 Filed 01/06/20                                     Page 12 of 40 PageID 22



                                               VIII.     RELIEF     SOUGHT

35.    Plaintiff   seeks prospective     relief of      reinstatement of employment and an injunction to


prevent future violations of     Plaintiff’s civil rights         by Defendants.


36.    Plaintiff   seeks monetary     relief against            Defendants for damages set forth         in this Petition,



including but not limited to     damages       for violations of the Texas Whistleblower Act,                Defamation


of Character, and violations of free speech.


37.    Such other    relief as   the law and/or this Court               deems   necessary.


                                                       V||||.    PRAYER

38.    WHEREFORE, PREMISES CONSIDERED,                          Plaintiff   prays that Defendants be cited and


appear herein, and that upon       final trial hereof,           that Plaintiff recoverjudgment against


Defendants for her damages        in a   sum   far in excess of the           minimal jurisdictional     limits of this



Court. Plaintiff additionally prays for both compensatory and punitive damages, reasonable


attorney’s fees, prejudgment and post-judgment interest, court costs, and for such other                            relief,



both general and special at law or       in   equity, to         which   Plaintiff   may be justly   entitled.



                                                                                Respectfully Submitted,


                                                                                CANE LAW FIRM,        LLC
                                                                                5787   S.   HAMPTON     RD. STE. 203
                                                                                DALLAS, TX 75232
                                                                                972.290.0068
                                                                                972.290.0039




                                                                                       /S/ Christine Cane
                                                                                             24091087
                                                                                State Bar No.2
                                                                                ccanelaw@gmail.com




PLAINTIFF's ORIGINAL PETITON         AND JURY DEMAND                                                                7   0F 7
                               Case 3:20-cv-00029-D Document 1-3 Filed 01/06/20                            Page 13 of 40 PageID 23




FORM NO. 353-3 -'CITATION                                                                                                                        PCT 4
THE STATE OF TEXAS                                                                                                                            CITATION
To:
            CITY OF DESOTO                                                                                                                    DC-19-18317
            SERVING M. RENEE JOHNSON, CITY MANAGER
            211 E. PLEASANT RUN
            DESOTO TX             75115                                                                                                       SHMARA PUNCH
                                                                                                                                                    vs.
GREETINGS:                                                                                                                            CITY 0F DESOTO           et al

You have been sued. You may employan attorney.                your attorney do not ﬁle a written
                                                                          If you or

answer with the clerk who issued this Citation by 10o'clock a.m. of the Monday next following the                                         '




expiration of twenty days after you were served this citation and petition, a defaultjudgment may be                                          ISSUED THIS
taken against you. Your answer should be addressed to the clerk of the 162nd District Court at 600                                 19th day of November, 2019
Commerce          Street, Ste. 101, Dallas,          Texas 75202.


Said Plaintiﬂ' being           SHMARA PUNCH                                                                                               FELICIA‘PITRE
                                                                                                                                     Clerk District Courts,
Filed in said Court 14th-day of                 November, 2019         against                                                       Dallas County, Texas


CITY OF DESOTO AND DESOTO                                CHAMBER OF CO’MMERCE
                                                                                                                              By:   DANIEL MACIAS,            Deputy
For    Suit,
               sai‘c‘i
                         suit being r-1umbered    DC—19-l8317, the nature of which demand is as follows:
Suit   on   EMPLOYMENT etc.                   as shown on said petition, a copy of which accompanies this citation.   If

this citation is         not served,   it   shall   be returned unexecuted.                                                         Attorney for Plaintiff
                                                                                                                                    CHRISTINE M CANE
WITNESS: FELICIA PITRE,                 Clerk ofthe District Conrts of Dallas, County Texas.-                                     CANE LAW FIRM PLLC
Given under          my    hand and the Seal of said Court at ofﬁce this 19th day ofNovember, 2019.                            5787 S. HAMPTON RD. STE 203
                                                                                                                                     DALLAS TX 75232
ATTEST: FELICIA PITRE,                                        strict   Courts of Dallas, County, Texas                                         972—290-0068

                                   BJCWMT-k-                                            4 Deputy
                                                                                                                                     ccanel'aw@gmail.com        _




                                              DANI        MACIAS


                                                                                                                           DALI.      -




                                                                                                                                          'OUNTY'coNsTABLE
                                                                                                                                               FEES Nor
                                                                                                                                                 PAID
                                    Case 3:20-cv-00029-D Document 1-3 Filed 01/06/20                                                            Page 14 of 40 PageID 24



                                                                                         OFFICER'S                       RETURN
Case No.: DC-19-183l7

Court No.162nd District Court

Style:   SHMARA PUNCH'
vs.


CITY OF DESOTO              et a1


Came     to   hand on_the                              day of                            ,   20              ,
                                                                                                                 at'                  o'clock              .M. Executed    at                                       J
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within the County of                                                   at                    o'clock                   .M.   5n the                        day of                                                        ,




20                          ,   by delivering   to the within    named




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each, in person, a true copy of this Citation together with the accompanying copy of this pleading, having ﬁrst endorsed on                                      same date of delivery. The distance   actually traveled by


me    in serving   such process was                        miles and   my   fees are as follows:     To   certify   which witness       my hand.


                                          For serving Citation

                                           For mileage                                                                  of                             County,
                                                                                                                                                                                                 I




                                                                                                                                                                                            ‘y


                                           For Notary                                                                   By                                                        Deputy-


                                                                                 (Must be veriﬁed        if served outside the State       of Texas.)

                                                                                                                                                         Q
                                                                                                                                                   '




Signed and sworn       to    by the said                                           before    me   this            day 6f                                     20


to certify     which witness        my   hand and   seal   of ofﬁce.




                                                                                                                       Notary Public                                 County
                           Case 3:20-cv-00029-D Document 1-3 Filed 01/06/20                             Page 15 of 40 PageID 25




FORM N0. 353-3 CITATION           —                                                                                                      PCT 4
THE STATE OF TEXAS                                                                                                                    CITATION
To:            -
                                                    -




          DESOTO CHAMBER OF COMMERCE                                                                                                  DC-l9—18317
          SERVING CAROL CULLETT, DESOTO CHAMBER CHAIR
          304 N HAMPTON RD.
          DESOTO TX 75115                                                                                                             SHMARA PUNCH
                                                                                                                                              VS.
GREETINGS:                                                                                                                         CITY 0F DESOTo      et a1

You have been sued. You may employ an attorney.               your attorney do not ﬁle é written
                                                                     If you or

énswer with the clerk who issued this citation by 10o'clock am. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a defaultjudgment _may be                                  ISSUED THIS
taken against you. Your answer should be addressed to the clerk of the 162nd District Court at 600                        19th day of November, 2019
Commerce      Street, Ste. 101, Dallas,      Texas 75202.


Said Plaintiff being       SHMARA PUNCH                                                                                             FELICIA PITRE
                                                                                                                                  Clerk District Courts,
Filed in said Court 14th        day of November, 2019 against                                                                     Dallas County, Texas


CITY OF DESOTO AND DESOTO                       CHAMBER OF COMMERCE                                                                                                '




                                                                                                                       By:    DANIEL MACIAS,          Deputy
For   Suit, said suit    being numbered DC-19—18317, the nature of which demand is as follows:
Suit on   EMPLOYMENT             etc. as shown on said petition, a copy of which accompanies this citation. If

this citation is   not served,   it   shallbe returned unexecuted.                                                                Attorney for Plaintiff

                                                                                                                          "
                                                                                                                             CHRISTINE M CANE                  .




WITNESS: FELICIA PITRE,              Clerk ofthe District Courts of Dallas, County Texas."                                 CANE LAW FIRM PLLC
Given under        my   hand and the Seal of said Court at ofﬁce this ‘1 9th day of November, 20 1 9.                   5787 S. HAMPTON RD. STE 203

                                                        '
                                                                                                                              DALLAS TX 75232
                                                            'ct   Courts of Dallas, County, Texas                                      972—290-0068
ATTEST: .FELICIA PITRE,               Clerk of th
                                                                                                                                  ccanelaw@gmail.com
                                                                                  Q   Deputy
                                        DANIIEL     WCIAS
                                                                                                                    DAL       .

                                                                                                                                   COUNTY CONSTABLE
                                                                                                                          FEES                  FEES NOT
                                                                                                                          PAID                       PAID
                                  Case 3:20-cv-00029-D Document 1-3 Filed 01/06/20                                                          Page 16 of 40 PageID 26



                                                                                      OFFICER'S RETURN
Case No.: DC-19-18317

Court No.162nd District Court

Style:   SHMARA PUNCH                 '




 vs.
                                  I




”CITY    0F DESOTO       et a1


Came to hand on the           ‘
                                                    day of                            ,
                                                                                          20               J   a_t                o'clock           .M. Executed at                                    ,




within the County of                                                at                    o'clock                    .M. on the                     day of

20                            by delivering    to the within   named




                                                                                                                          on same date of delivery.                       The   distance actually traveled by
each, in person, a true copy 'of this Citation together with the accompanying copy of this pleading, having ﬁrst endorsed

me     in serving   such predess was                    miles and   my   fees are as follows:   To       certify     which witness   my hand.



                                          For sewing Citation

                                          For mileage                                                                 of                        County,

                                          For Notary                                                                  By   ~
                                                                                                                                                                      Deputy

                                                                              (Must be veriﬁed          if seriled   outside the State of Texas.)


Signed and sworn        to   by the said                                        before    me this   .
                                                                                                                day of                              ,   20

to certify   which witness guy hand and          seal   ofofﬁce.




                                                                                                                     Notary Public                           County
                                 Case 3:20-cv-00029-D Document 1-3 Filed 01/06/20                          Page 17 of 40 PageID 27
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    FORM N0. 353—3—‘CITATIDN                                                                                                                      PCT 4
                                                                                             20,9050 ,0        PH 2 l3
    THE STATE 0F TEXAS                                                                                                   .
                                                                                                                                                CITATION
    T0:                                                   ’l‘




                CITY 0F DESOTo
                SE-R-V-INGM: RENEE
                                                     f;
                                               JOHNsmN                        MANAGER
                                                                                                                                               DC-l9—18317
                                                                    C_1_TY_

                                      T:
                DESOIO Txm75115                           '-


                                                                                                                                               SHMARA PUNCH
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                                                                                                                                                      vs.
    GREETINGS.           732Cf % f’w'ﬁ                                                                                                        CITY OF DESOTO     et a1

    You have been sued. You may employ an‘ attorney.                your attorney do not ﬁle a written
                                                                              If you or
    answer with the clerk who issued this citation by 10 o ‘clock a m. of the Monday next following the
     expilation of twenty days after you wele served this citation and petition, a defaultjudgment may be                                       ISSUED THIS
    rtaken against you. Your answer should be addressed to the clerk of the 162nd District Court at 600                              19th day 0f November, 2019



.
    Commerce

    Sai    _.
                 WW  Street, Ste




    Filed in said Court
                                   101, Dallas, Texas 75202.


                                              PUNCH

                                 141§ﬂ0vembeﬁ 2019 against
                                                           --
                                                                ‘




                                                                                                                                              FELICIA PITRE
                                                                                                                                          Clerk District Courts,
                                                                                                                                          Dallas County, Texas


    CITY OF DESOTO AND DESCTO CH‘ANIBER OF                                        COMMERCE
                                                                                                                                By:       DANIEL MACIAS,        Deputy
    For                 numbered D_C- 19- 18317 the nature of which demand Is as follows:
           Suit, said suit being
    Suit    on EMPLOYMENT etc. as shown on said petition, a copy of which accompanies this citation.                    If

    this citation is    not served,   it   shall   be returned unexecuted                                                                 Attorney for Plaintiff
                                                                                                                                      CHRISTINE M CANE
    WITNESS: FELICIA PITRE, Clerk ofthe‘District Courts of Dallas, County Texas.-                                                   CANE LAW FIRM PLLC
    Given under my hand and the Seal of said Conn at ofﬁce this 19th day ofNovember, 2019.                                       5787 S. HAMPTON RD. STE 203
                                                                                                                                              DALLAS TX     75232
    ATTEST: FELI IA PITRE,  ,.             Clerk of thg—Dfstrict Courts of Dallas, County, Texas                                                 972-290—0068
                                                                                                                                          ccanel'aw@gmail.com      .




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                                                                                                              OFFICER'S                            RETURN
Case No.: 13019-18317
                                                                          )




Court No.162nd District             Com                                   j




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Style:   SHMARA PUNCH
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VS.                                      .




CITY 0F DESOTO
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                                    Case 3:20-cv-00029-D Document 1-3 Filed 01/06/20                                                 Page 20 of 40 PageID 30
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       FORM NO.                   353-3    -        ITATIQN                                                                                                                  PCT   4


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                  DESOTO CHAMBEROECOMMERCE                                                                                                       '7                       DC—19-18317
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                                                                                                                                                                          SHMARA PUNCH
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       GREETINGS                               k»   é 34w?                                                                                                           CITY 0F DESOTO        et a1

       You have been sued. You may employ an attorney.                        your attorney d0 not ﬁle a written
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       answer wit        rk who issued this citation by 10         o c'lock a. m. of the Monday next following the
                               nty days after you wele ’served this citation and petition, a default judgment _may be                                                     ISSUED THIS
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                 x   st     you. Your answer should be addressed to the clerk of the 162nd District Court at 600                                               19th day 0f November, 2019

    dﬁm
     *Said
             merce   Street, Ste. 101, Dallas,


             Plaintiff being        SHMARA PUNCH
                                                       Texas 575202.

                                                                     r“                                                                                               FELICIA PITRE        ..-'




                                                                                                                                                                   Clerk District Courts,
       Filed in said Court 14th          day of Novembelgj, 2019                                against                                                            Dallas‘County, Texas


       CITY OF DESOTO AND DESOTO CHT‘AMBER OF                                                          COMMERCE
                                                                                                                                                             By:   DANIEL MACIAS,         Deputy
       For Suit, said suit being numbered DC—19-18317, the naturc ofwhich demand is as follows:
       Suit on EMPLOYMENT etc. as shown on said petition, a copy of which accompanies this citation.                                        If

       this citation is not served,       it   shallbe returned unexecuted.                                                                                        Attorney for Plaintiff
                                                                                                                                                                    CHRISTINE M CANE                  I




       WITNESS: FELICIA PITRE,                Clerk ofthe'District Courts of Dallas, County Texas.                                                                 CANE LAW FIRM PLLC
       Given under          my   hand and the Seal of said Court at ofﬁce this _1 9th day ofNovember, 2019.                                                   5787   S.   HAMPTON RD. STE 203
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       ATTEST: .FELICIA PITRE,                 Clerk of th                                                                                                                 972-290-0068
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Case No.. DC- 19- 18317

Court No.162nd District                  Coun

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                         Case 3:20-cv-00029-D Document 1-3 Filed 01/06/20                                                                           Page 23 of 40 PageID 33

                 Re: {External              Sender15hmara Punch                                 v.   Desoto Chamber of Commerce




                 Ofﬁcer           MA. De            Lara          #438
                 CeEi:   940~441 -3567
                 (\n   God        l   Trust!)



                 Praise       be to the LORD                       my    Rock,     who   trains      my hands                  for battle,      my fingers                    for warfare.
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                 To. Michael Delara <Michael. Delara@da|lascounty.org>                                                                                                                                                   z
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                 This e—mail transmission, including any attachments,                                                          is    intended only for the                                named                 recipient(s)           and
                 may     contain information that                             is   privileged, conﬁdentiai                           and/or exempt from                               dis'closure                  under
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Case 3:20-cv-00029-D Document 1-3 Filed 01/06/20                                     Page 24 of 40 PageID 34                       FELICIA PITRE
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                                                                                                                         Kevin Molden
                                         CAUSE NO. DC-19-18317                                                                         '




SHMARA PUNCH;                                                        §          IN   THE DISTRICT COURT
r
                    Plaintiff,                                       §
                                                                     §
V.                                                                   §           162M)     JUDICIAL DISTRICT
                                                                     §
CITY 0F DESOTO; and                                                  §
DESOTO CHAMBER 0F COMMERCE,                                          §
                    Defendant.                                       §          DALLAS COUNTY, TEXAS

                     DEFENDANT CITY OF DESOTO’S ORIGINAL ANSWER

          COMES       NOW      Defendant, the City of DeSoto (the “City”), and ﬁles this                         its   Original


Answer to    Plaintiff’s Original Petition


                                        1-       9W
                                               and Jury Demand (“Petition”) and




          Defendant City generally denies the allegations in
proof thereof.
                                                                                                 state as follows:




                                                                                Plaintiff‘s Petition     and demands      strict
                                                                                                                                   '




                         II.     DEFENSES AND AFFIRMATIVE DEFENSES
     Defendant City asserts the following as afﬁrmative defenses:
                                                                                       I




     1.   All or part of Plaintiffs claims are barred          by the applicable           statutes   of limitation.

     2.   The    Petition does not state a claim    upon which            relief   can be granted for retaliation under


          Chapter 554 of the TEXAS      GOVERNMENT CODE.

     3.   Plaintiff’s retaliation claim(s) fail to the extent that she               cannot show that she engaged in


          protected activity or that she experienced an adverse                    employment action by the City           as a


          result   of the alleged protected   activity.


     4.   Plaintiff’s   claims for relief are barred to the gxtent they exceed that available under Texas


          law.


     5.   Plaintiff’s   claims are barred, in whole or in part, by estoppel or by her                        own   voluntary


          conduct;




DEFENDANT CITY 0F DESOTo’s ORIGINAL ANSWER                -   Page   1   of 5
Case 3:20-cv-00029-D Document 1-3 Filed 01/06/20                                          Page 25 of 40 PageID 35


   6;    Defendant City denies that                it   took any actions with respect to Plaintiff but asserts that any'


         alleged actions taken with regard to the Plaintiff were taken in                           good   faith; for legitimate,


         non-retaliatory reasons; alternatively, if Plaintiff establishes that any alleged protected


         activity       was considered       in   any alleged adverse employment action, Defendant City                    aSSerts


         that    it   would have taken the adverse action               in   any event.

   7.    Defendant City denies that                it   took any actions with respect to Plaintiff but asserts that any

         adverse action taken against Plaintiff was based solely on information, observation, or


         evidence that          is   was not related      to Plaintiff’s alleged report        and protected   activity.


   8.    Defendant City denies that                 it   took any actions with respect to Plaintiff but asserts that


         Plaintiff’s retaliation          claim under Chapter 554 of the TEXAS                     GOVERNMENT CODE           fails



         because she cannot show                  that   any alleged protected         activity   was a   but-for cause of any


         alleged adverse             Employment         action committed      by the   City.


   9.    Alternatively, Plaintiff’s retaliation claim under Chapter                       554 of the TEXAS GOVERNMENT

         CODE         fails   because she cannot show that any alleged protected activity was a motivating


         factor in      any alleged adverse employment action taken by the                        City.


   10.   Defendant City ihvokes             all   applicable    damages cap or limitations, including but not limited

         to those set forth in §§554.001, et seq.,                   of the TEXAS   GOVERNMENT CODE and             §41.001, et


         seq.,   of the TEXAS CIVIL PRACTICE & REMEDIES CobE.

   11.   Defendant City speciﬁcally denies any allegations of intentional and knowing conduct and


         other conduct          which may form the           legal basis for entitlement to        compensatory damages as

         requested by Plaintiff. Defendant City further denies that any acts and/or omissions alleged


         by’Plaintiff amount to malicious and/or reckless conduct.




DEFENDANT CITY OF DESOTO’S ORIGINAL ANSWER                       -   Page 2 0f 5
Case 3:20-cv-00029-D Document 1-3 Filed 01/06/20                                              Page 26 of 40 PageID 36


   12.    Defendant City further asserts as an afﬁrmative defense, that Plaintiff failed to mitigate her


          damages.


   13.    Defendant City pleads that Plaintiff has failed to                         state    a claim upon which relief can be
     I




          granted as to       all   claims asserted by        Plaintiff.



   1_4.   Defendant City pleads that no deprivation of Plaintiff’s rights occurred with regard to the


          matters about which Plaintiff complains.


   15.    Defendant City pleads that             it   did not engage in any actions that resulted in the Violation of


          any of Plaintiff’s constitutional             rights,    nor did    it   direct, order or authorize     any other person

          to   do   so.


   16.    Defendant City pleads that                  its   actions    were    at all   times lawful,      that   its   actions were


          objectively reasonable,             and     that   it   did not violate clearly established law of which a


          reasonable person would have known.


   17.    Defendant City pleads that             all   actions taken       by the     City, if any, at all relevant times,     were

          taken by a public or government ofﬁcial, émployed at the time of the incident in question


          by the      City; that     it is   entitled to qualiﬁed         immunity from          suit   and from damages      in the


          present cause; and that            on the occasion in question, any actions taken by the City were taken

          without malice; without an intent to deprive Plaintiff of any legally protected rights; with a                               V




          reasonable good faith belief that the actions taken by the City, if any, were lawful, proper,


          and within and pursuant to the scope of the City employee’s discretionary authority; and

          that   no       cleariy established       law of which a reasonable person would have known was

          violated.


   18.    Defendant City pleads that no act or omission on                              its   part proximately caused any of


          Plaintiff s alleged injuries or damages.




DEFENDANT CITY 0F DESOTo’s ORIGINAL ANSWER                         -   Page 3 of 5
Case 3:20-cv-00029-D Document 1-3 Filed 01/06/20                                      Page 27 of 40 PageID 37


   19.   Defendant City Ipleads that      Plaintiff’s alleged            damages,     if any,   were caused by   Plaintiff‘s


         own   actions or   by the actions of others and not by any actions df Defendant, so                       that the


         doctrine of comparative causation applies to this case.


   20. In addition to the foregoing defenses,             Defendant City reserves the right to assert any other

         defenses available under applicable law, by Order of this Court, or otherwise.


                                                III.              PRAYER
         WHEREFORE,           Defendant City respectfully requests, that the Court dismiss                       Plaintiff’s


   action.   with prejudice, grant a take-nothing judgment in favor of Defendant City, and award


   Defendant City its attorney’s fees and costs of court. Defendant City further requests any other


   relief at   law and in equity   to   which   it is   justly entitled.


                                                                                            '




                                                         Respectfully submitted,


                                                         WALKER BRIGHT P.C.
                                                          00 North Central Expressway, Suite 800
                                                         .l


                                                         Richardson, Texas 75080
                                                         Telephone:    (972) 744—0192
                                                         Facsimile:    (972) 744-0067
                                                         Email:                   eﬁledallas@wblpc.com

                                                         BY:             s/s    Gerald Bright
                                                                       Gerald Bright
                                                                       State Bar No. 02991 720
                                                                       David L. Craft
                                                                       State Bar No. 00790554
                                                                       Courtney L. Myers
                                                                       State Bar No. 24 1 02261


                                                                   ATTORNEYS FOR DEFENDANT
                                                                   CITY 0F DESOTO




DEFENDANT CITY 0F DESOTo’s ORIGINAL ANSWER                    -   Page 4 of 5
Case 3:20-cv-00029-D Document 1-3 Filed 01/06/20                              Page 28 of 40 PageID 38


                                         CERTIFICATE OF SERVICE
                                                                                                             ’s
       This   is to certify that   a true and correct copy of the foregoing Defendant City ofDeSoto


Original Answer has been sent to opposing counsel and/or the persons listed below by electronic


service, certiﬁed mail, return receipt requested or by‘email, as reﬂected below,           on   this the   23rd


day of December, 2019.

 Christine Cane, Esq.                                  ,
                                                             Via Texas Eﬁle Eservice
 Cane Law Firm, LLC
 5757 S. Hampton Road, Suite 203
 Dallas, TX 75232
 Attorneyfor Plaintiff
                                     I




 Doug Rees,   Esq.                                           Via Texas Eﬁle Eservice
 Cooper & Scully PC
 900 Jackson Street, #100
 Dallas, TX 75202
 Attorneyfor Defendant



                                                                   /s/   Gerald Bright
                                                                Gerald Bright/David L. Craft




DEFENDANT CITY OF DESOTO’S ORIGINAL ANSWER         -       Page 5 0f 5
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 Case 3:20-cv-00029-D Document 1-3 Filed 01/06/20                 Page 29 of 40 PageID 39             FELICIA PITRE
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                                                                                                Kevin Molden
                                   CAUSE NO. DC-19-18317

SHMARA PUNCH                                             IN THE DISTRICT COURT

V.
                                                         162ND JUDICIAL DISTRICT

CITY OF DESOTO, DESOTO CHAMBER
OF COMMERCE                                              DALLAS COUNTY, TEXAS

DEFENDANT DESOTO CHAMBER OF COMMERCE'S ORIGINAL ANSWER WITH
                   AFFIRMATIVE DEFENSES


TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW DeSoto Chamber of Commerce ("Defendant"), a named Defendant in the

above-entitled and numbered cause, and files this it's Original Answer with Affirmative

Defenses and for such would respectfully show the Court as follows:

                                            I.
                                      GENERAL DENIAL

     1. Defendant generally denies each and every allegation, both singular and plural, averred in

Plaintiffs Original Petition and every amendment or supplement thereto, and demands strict

proof thereof by a preponderance of evidence pursuant to Rule 92 of the TEXAS RULES OF CIVIL

PROCEDURE,

                                             II.
                                      VERIFIED DENIAL

     2. Defendant specifically denies, pursuant to Rule 93(1) of the TEXAS RULES OF CIVIL

PROCEDURE, that Plaintiff has the legal capacity to sue Defendant for violation of the Texas

Whistleblower Act (as Codified under Chapter 554 of the TEXAS GOVERNMENT CODE) as alleged

in Plaintiffs Original Petition. Specifically, Defendant is neither a "Local" nor "State"

Government Entity as defined under §§554.001(2) and (5) of the TEXAS GOVERNMENT CODE,


DEFENDANT DESOTO CHAMBER OF COMMERCE'S ORIGINAL ANSWER WITH AFFIRMATIVE
DFEENSES                                                                                    Page 1
D/1015796v1
 Case 3:20-cv-00029-D Document 1-3 Filed 01/06/20                    Page 30 of 40 PageID 40



Furthermore, Plaintiff is not a "Public Employee" of the Defendant as defined under

§§554,001(4) of the TEXAS GOVERNMENT CODE.

                                           III
                                  AFFIRMATIVE DEFENSES

        Defendant hereby sets forth the following affirmative defenses, pleading in the

alternative, and pleading only such defenses as are necessary, as all liability is denied:

     3. Pleading further in the alternative, as all liability is denied, Defendant asserts that the

Plaintiff's claims are barred, in whole or in part, because Defendant acted pursuant to a legal

excuse and/or was justified to act in terminating the Plaintiffs employment with the Defendant,

to which the Plaintiff now complains of.

     4, Pleading further, as all liability is denied, Defendant asserts that the Plaintiffs recovery of

any alleged compensatory and punitive damages is based upon claims that falls under the Texas

Commission on Human Rights Act and, therefore, is limited and is governed by §21.2585(d) of

the TEXAS LABOR CODE, Accordingly, the Plaintiffs recovery, if any, is limited to the relevant

statutory cap pursuant to §21.2585(d) as against Defendant to the extent that the Defendant

proves the number of employees it had for the period of time relevant to the Plaintiffs claims,

otherwise Plaintiffs damages are capped at the maximum allowed under §21.2585(d) of the

TEXAS LABOR CODE.

     5. Pleading further in the alternative, as all liability is denied, Defendant avails itself of the

limitations on liability applicable under Texas law,


                                           IV.
                                   EVIDENCE OF NET LOSS

     6. Defendant affirmatively pleads that pursuant to §18.091(a) of the TEXAS CIVIL PRACTICE

 REMEDIES CODE, to the extent that the Plaintiff seeks recovery for loss of earnings and loss of

DEFENDANT DESOTO CHAMBER OF COMMERCE'S ORIGINAL ANSWER WITH AFFIRMATIVE
DFEENSES                                                                                         Page 2
D/1015796v1
 Case 3:20-cv-00029-D Document 1-3 Filed 01/06/20                     Page 31 of 40 PageID 41


earning capacity, Plaintiff must present evidence in the form of a net loss after reduction for

income tax payments or unpaid tax liability under federal income-tax law. Defendant requests

that the jury be instructed that any loss of earnings or loss of earning capacity damages the

Plaintiff may recover are subject to federal or state income taxes.

                                         V.
                               EXEMPLARY-DAMAGES CAP

     7. Pleading further in the alternative, as all liability is denied, Defendant asserts that if

Defendant is found liable for exemplary damages, those damages must be capped under the

Texas Damages Act, the Due Process Clause of the United States Constitution, and the Due

Course of Law provisions of the Texas Constitution.

                                   VI.
               PRODUCTION OF DOCUMENTS SELF-AUTHENTICATING

     8. Defendant hereby gives notice of intent to utilize items produced in discovery against the

party producing same. The authenticity of such items is self-proven per Rule 193.7 of the

TEXAS RULES OF CIVIL PROCEDURE.

                                            PRAYER

        WHEREFORE, PREMISES CONSIDERED, Defendant DeSoto Chamber of

Commerce prays that upon final hearing hereon, Plaintiff takes nothing by way of her claims

against Defendant, that Defendant recover all costs expended on its behalf, and for such other

and further relief, both general and special, both at law and in equity, to which it may show itself

to be justly entitled.




DEFENDANT DESOTO CHAMBER OF COMMERCE'S ORIGINAL ANSWER WITH AFFIRMATIVE
DFEENSES                                                                                      Page 3
D/1015796v1
 Case 3:20-cv-00029-D Document 1-3 Filed 01/06/20                Page 32 of 40 PageID 42




                                            Respectfully submitted,

                                            COOPER & SCULLY, P.C.


                                            By:    /s/ R. Douglas Rees
                                                    R. DOUGLAS REES
                                                    State Bar No.: 16700600
                                                    doug.rees@cooperseully.com

                                            Founders Square
                                            900 Jackson Street, Suite 100
                                            Dallas, Texas 75202
                                            Telephone: (214) 712-9500
                                            Facsimile: (214) 712-9540

                                            ATTORNEY FOR DEFENDANT
                                            DESOTO CHAMBER OF COMMERCE



                                       VERIFICATION

STATE OF TEXAS §

COUNTY OF DALLAS §

BEFORE ME, the undersigned Notary Public, on this day personally appeared R. DOUGLAS
REES, being by me duly sworn on his oath deposed and said that he is duly qualified and
authorized in all respects to make this Verification and has personal knowledge of the relevant
facts; that he has read all paragraphs of Defendant's Original Answer and that the statements
contained therein are within his personal knowledge and are true and c• rect.



                                            R. DOUGLAS/REES

      SUBSCRIBED AND SWORN to before me on the 2.7day of December, 2019, to
          f.111111-
   ity 6  ty6-isiggrilny hand and official seal of office.
     Notary Public, State of Texas
        Notary ID 12407818-5
    My Commission Exp. 02-02-202'e

My Commission Expires:
                                            Notary P Ilic, State of Texas

DEFENDANT DESOTO CHAMBER OF COMMERCE'S ORIGINAL ANSWER WITH AFFIRMATIVE
DFEENSES                                                                                    Page 4
EV1015796v1
 Case 3:20-cv-00029-D Document 1-3 Filed 01/06/20             Page 33 of 40 PageID 43



                               CERTIFICATE OF SERVICE

      I hereby certify that on the 27    day of December, 2019, a true and correct copy this
document was served on counsel of record via Eservice as follows:


Christine Cane
CANE LAW FIRM LLC
5787 S. Hampton Road
Suite 203
Dallas, Texas 75232
(972) 290.0068
(972) 290-0039 — Fax
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Gerald Bright
David Craft
WALKER BRIGHT P.C.
100 North Central Expressway
Suite 800
Richardson, Texas 75080
(972) 744-0192
(972) 744-0067 (Fax)
Gerald.Bright@wb1pc.corn
David.Craft@wb1pc.corn


                                          By:   /s/ R. Douglas Rees
                                                R. DOUGLAS REES




DEFENDANT DESOTO CHAMBER OF COMMERCE'S ORIGINAL ANSWER WITH AFFIRMATIVE
DFEENSES                                                                               Page 5
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  Case 3:20-cv-00029-D Document 1-3 Filed 01/06/20                Page 34 of 40 PageID 44                FELICIA PITRE
                                                                                                      DISTRICT CLERK
                                                                                               CAROLYN SELLERS


                                   CAUSE NO. DC-19-18317

SHMARA PUNCH                                      §       IN THE DISTRICT COURT
                                                  §
V.                                                §
                                                  §       162ND JUDICIAL DISTRICT
                                                  §
CITY OF DESOTO, DESOTO CHAMBER                    §
OF COMMERCE                                       §       DALLAS COUNTY, TEXAS

 DEFENDANT DESOTO CHAMBER OF COMMERCE’S FIRST AMENDED ANSWER


TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW DeSoto Chamber of Commerce (“Defendant”), a named Defendant in the

above-entitled and numbered cause, and files this its First Amended Answer and for such would

respectfully show the Court as follows:

                                            I.
                                      GENERAL DENIAL

     1. Defendant generally denies each and every allegation, both singular and plural, averred in

Plaintiff’s Original Petition and every amendment or supplement thereto, and demands strict

proof thereof by a preponderance of evidence pursuant to Rule 92 of the TEXAS RULES OF CIVIL

PROCEDURE.

                                             II.
                                      VERIFIED DENIAL

     2. Defendant specifically denies, pursuant to Rule 93(1) of the TEXAS RULES        OF   CIVIL

PROCEDURE, that Plaintiff has the legal capacity to sue Defendant for violation of the Texas

Whistleblower Act (as Codified under Chapter 554 of the TEXAS GOVERNMENT CODE) as alleged

in Plaintiff's Original Petition. Specifically, Defendant is neither a “Local” nor “State”

Government Entity as defined under §§554.001(2) and (5) of the TEXAS GOVERNMENT CODE.




DEFENDANT DESOTO CHAMBER OF COMMERCE’S FIRST AMENDED ANSWER                                  Page 1
D/1016070v1
  Case 3:20-cv-00029-D Document 1-3 Filed 01/06/20                   Page 35 of 40 PageID 45



Furthermore, Plaintiff is not a “Public Employee” of the Defendant as defined under

§§554.001(4) of the TEXAS GOVERNMENT CODE.

                                           III
                                  AFFIRMATIVE DEFENSES

         Defendant hereby sets forth the following affirmative defenses, pleading in the

alternative, and pleading only such defenses as are necessary, as all liability is denied:

     3. Pleading further in the alternative, as all liability is denied, Defendant asserts that the

Plaintiff’s claims are barred, in whole or in part, because Defendant acted pursuant to a legal

excuse and/or was justified to act in terminating the Plaintiff’s employment with the Defendant,

to which the Plaintiff now complains of.

     4. Pleading further in the alternative, as all liability is denied, Defendant asserts that the

Plaintiff’s cause of action for Defamation against the Defendant is barred, in whole or in part, on

the basis that the defamatory statements as alleged by the Plaintiff are protected by the common-

law qualified privilege.

     5. Pleading further in the alternative, as all liability is denied, Defendant asserts that the

Plaintiff's recovery of any alleged compensatory and punitive damages is based upon claims that

falls under the Texas Commission on Human Rights Act and, therefore, is limited and is

governed by §21.2585(d) of the TEXAS LABOR CODE. Accordingly, the Plaintiff's recovery, if

any, is limited to the relevant statutory cap pursuant to §21.2585(d) as against Defendant to the

extent that the Defendant proves the number of employees it had for the period of time relevant

to the Plaintiff's claims, otherwise Plaintiff's damages are capped at the maximum allowed under

§21.2585(d) of the TEXAS LABOR CODE.

     6. Pleading further in the alternative, as all liability is denied, Defendant avails itself of the

limitations on liability applicable under Texas law.


DEFENDANT DESOTO CHAMBER OF COMMERCE’S FIRST AMENDED ANSWER                                      Page 2
D/1016070v1
  Case 3:20-cv-00029-D Document 1-3 Filed 01/06/20                 Page 36 of 40 PageID 46



                                          IV.
                                  EVIDENCE OF NET LOSS

     7. Defendant affirmatively pleads that pursuant to §18.091(a) of the TEXAS CIVIL PRACTICE

 REMEDIES CODE, to the extent that the Plaintiff seeks recovery for loss of earnings and loss of

 earning capacity, Plaintiff must present evidence in the form of a net loss after reduction for

 income tax payments or unpaid tax liability under federal income-tax law. Defendant requests

 that the jury be instructed that any loss of earnings or loss of earning capacity damages the

 Plaintiff may recover are subject to federal or state income taxes.

                                         V.
                               EXEMPLARY-DAMAGES CAP

     8. Pleading further in the alternative, as all liability is denied, Defendant asserts that if

 Defendant is found liable for exemplary damages, those damages must be capped under the

 Texas Damages Act, the Due Process Clause of the United States Constitution, and the Due

 Course of Law provisions of the Texas Constitution.

                                   VI.
               PRODUCTION OF DOCUMENTS SELF-AUTHENTICATING

     9. Defendant hereby gives notice of intent to utilize items produced in discovery against the

 party producing same. The authenticity of such items is self-proven per Rule 193.7 of the

 TEXAS RULES OF CIVIL PROCEDURE.

                                            PRAYER

         WHEREFORE, PREMISES CONSIDERED, Defendant DeSoto Chamber of

Commerce prays that upon final hearing hereon, Plaintiff takes nothing by way of her claims

against Defendant, that Defendant recover all costs expended on its behalf, and for such other

and further relief, both general and special, both at law and in equity, to which it may show itself

to be justly entitled.


DEFENDANT DESOTO CHAMBER OF COMMERCE’S FIRST AMENDED ANSWER                                   Page 3
D/1016070v1
  Case 3:20-cv-00029-D Document 1-3 Filed 01/06/20     Page 37 of 40 PageID 47




                                   Respectfully submitted,

                                   COOPER & SCULLY, P.C.


                                   By: __/s/ R. Douglas Rees____________________
                                          R. DOUGLAS REES
                                          State Bar No.: 16700600
                                          doug.rees@cooperscully.com

                                   Founders Square
                                   900 Jackson Street, Suite 100
                                   Dallas, Texas 75202
                                   Telephone: (214) 712-9500
                                   Facsimile: (214) 712-9540

                                   ATTORNEY FOR DEFENDANT
                                   DESOTO CHAMBER OF COMMERCE




DEFENDANT DESOTO CHAMBER OF COMMERCE’S FIRST AMENDED ANSWER                 Page 4
D/1016070v1
  Case 3:20-cv-00029-D Document 1-3 Filed 01/06/20                   Page 38 of 40 PageID 48


                                              VERIFICATION

STATE OF TEXAS §

COUNTY OF DALLAS §

        BEFORE ME, the undersigned Notary Public, on this day personally appeared R.
DOUGLAS REES, being by me duly sworn on his oath deposed and said that he is duly
qualified and authorized in all respects to make this Verification and has personal knowledge of
the relevant facts; that he has read all paragraphs of Defendant's First Amended Answer and that
the statements contained therein are within his personal knowledge and are true and correct.



                                                 R. DOUGLAS

      SUBSCRIBED AND SWORN to before me on the 3rd day of January, 2020, to certify
which witnesses my hand and official seal of office.

                MARIAN W PRICE
              Notary Public, State of Texas
                  Notary ID 710704-3
              My Commission Exp. 05-04-2023
                                                                e

                                                 Notary Public, State of Texas




DEFENDANT DESOTO CHAMBER OF COMMERCE'S FIRST AMENDED ANSWER                                Page 5
D/1016070v1
  Case 3:20-cv-00029-D Document 1-3 Filed 01/06/20          Page 39 of 40 PageID 49



                               CERTIFICATE OF SERVICE

      I hereby certify that on the 3rd day of January, 2020, a true and correct copy this
document was served on counsel of record via Eservice as follows:


Christine Cane
CANE LAW FIRM LLC
5787 S. Hampton Road
Suite 203
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(972) 744-0067 (Fax)
Gerald.Bright@wblpc.com
David.Craft@wblpc.com


                                         By: __/s/ R. Douglas Rees____________________
                                               R. DOUGLAS REES




DEFENDANT DESOTO CHAMBER OF COMMERCE’S FIRST AMENDED ANSWER                        Page 6
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                 Case 3:20-cv-00029-D Document 1-3 Filed 01/06/20                                            Page 40 of 40 PageID 50                            FELICIA PITRE
                                                                                                                                                             DISTRICT CLERK

                                                                                                                                                             IER   HERNANDEZ




                                                                                    FIRM, PLLC



                                                                     November        27, 20 1 9




            Dallas District Court Clerk

            Attn: Clerk of Court



            RE:        Shmara Punch      v.   Desoto Chamber of Commerce,           &   City of   Desoto
                       DC-19-18317


            Dear Clerk of Court:


            Attached please find the petition       in this   matter.   |   have paid for the copies of the petition and also paid the fee             in

            order to have the constable to serve both of the defendants. Please                    let   me know   if   anything additional   is   needed
            from our   office in   order to get this served.


            Thanks,


            /s/ Christine   Cane
            CANE LAW FIRM,         LLC




                       5787 South Hampton Road, Suite 305,                        Dallas,   Texas 75232 O 972.290.0068                  (P)    O
                                         972.290.0039         (F)   6 ccanelaw@gmai|.com O canefirm.com
